
28 N.Y.2d 579 (1971)
Florence Ferrentino et al., Appellants,
v.
Farragut Gardens No. 5, Inc., Respondent, et al., Defendant.
Court of Appeals of the State of New York.
Submitted January 18, 1971.
Decided January 21, 1971.
I. Sidney Worthman for motion.
Robert Wilson opposed.
Motion granted and appeal dismissed, with costs and $10 costs of motion, upon the ground that the order appealed from does not finally determine the action within the meaning of the Constitution. Moreover, said order involves a question of discretion of the type not reviewable by the Court of Appeals (Pellerin v. Groveville Corp., 27 N Y 2d 590).
